                    Case 23-13221            Doc 1       Filed 10/03/23 Entered 10/03/23 13:26:13                              Desc Main
                                                           Document     Page 1 of 36

Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                JACKarcher, LLC a/k/a Gil Melott Studio

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1834 West North Avenue
                                  Chicago, IL 60622
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Cook                                                            Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  1834 West North Avenue Chicago, IL 60622
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    JACKarcher, LLC a/k/a Gil Melott Studio                                                      Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor    JACKarcher, LLC a/k/a Gil Melott Studio                                                         Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                    Case 23-13221      Doc 1        Filed 10/03/23 Entered 10/03/23 13:26:13                      Desc Main
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Debtor   JACKarcher, LLC a/k/a Gil Melott Studio                                       Case number (if known)
         Name

                                $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                                $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                                $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                    Case 23-13221            Doc 1       Filed 10/03/23 Entered 10/03/23 13:26:13                                Desc Main
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Debtor    JACKarcher, LLC a/k/a Gil Melott Studio                                                  Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 3, 2023
                                                  MM / DD / YYYY


                             X /s/ Gil Melott                                                             Gil Melott
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X /s/ Raffy A. Kaplan                                                         Date October 3, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Raffy A. Kaplan 6275234
                                 Printed name

                                 Kaplan Law Firm LLC
                                 Firm name

                                 25 East Washington St
                                 Suite 1501
                                 Chicago, IL 60602
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (312) 294-8989                Email address      rkaplan@financialrelief.com

                                 6275234 IL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         JACKarcher, LLC a/k/a Gil Melott Studio

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       October 3, 2023                 X /s/ Gil Melott
                                                           Signature of individual signing on behalf of debtor

                                                            Gil Melott
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                   Case 23-13221                            Doc 1               Filed 10/03/23 Entered 10/03/23 13:26:13                                                           Desc Main
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 Fill in this information to identify the case:

 Debtor name            JACKarcher, LLC a/k/a Gil Melott Studio

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF ILLINOIS

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           180,787.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           180,787.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            35,000.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           599,355.13


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             634,355.13




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
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Fill in this information to identify the case:

Debtor name         JACKarcher, LLC a/k/a Gil Melott Studio

United States Bankruptcy Court for the:      NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Wintrust Bank                                     Checking                                                                               $0.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                           $0.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.


Part 4:          Investments
13. Does the debtor own any investments?

       No. Go to Part 5.
       Yes Fill in the information below.
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                        page 1
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Debtor       JACKarcher, LLC a/k/a Gil Melott Studio                               Case number (If known)
             Name




Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description               Date of the last       Net book value of      Valuation method used     Current value of
                                            physical inventory     debtor's interest      for current value         debtor's interest
                                                                   (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale
          Gil Melott Lounge Chair
          Exclusive for S27                                                      $0.00                                        $12,000.00


          Gil Melott Brazo Lounge
          Chair                                                                  $0.00                                         $7,000.00


          Gil Melott Flotar Sofa                                                 $0.00                                        $14,500.00


          Gil Melott Luz 9 Sconce                                                $0.00                                         $4,350.00


          Gil Melott Luz 37 Sconce                                               $0.00                                         $4,675.00


          Gil Melott Bespoke Uvalde
          Table                                                                  $0.00                                         $7,000.00


          Gil Melott Bespoke TX
          Lounge Chairs                                                          $0.00                                        $12,000.00



22.       Other inventory or supplies
          Mid Century Low Lounge
          Chairs                                                                 $0.00                                         $2,100.00


          Great Large Half Moon
          Shaped Bench                                                           $0.00                                         $1,300.00


          Antique French Provencial
          Cabinet                                                                $0.00                                         $1,475.00


          Padoveno Falls E
          Guamacci Emilio                                                        $0.00                                         $3,901.00


          Ezio Longhi Pair of
          Armchairs                                                              $0.00                                         $1,606.00




Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                 page 2
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Debtor      JACKarcher, LLC a/k/a Gil Melott Studio                            Case number (If known)
            Name

         Marcello Fantoni Pair of
         Table Lamps                                                          $0.00                                 $1,606.00


         Jean Pascaud Club Chairs                                             $0.00                                 $1,606.00


         Antique Archaic Style
         Small Bronze Wine Vessel
         Pitcher                                                              $0.00                                   $80.00


         Black Barrel Back Lounge
         Chair Four Legs on Roll                                              $0.00                                  $300.00


         Continental Renaissance
         Style Carved Oak
         Bookcase                                                             $0.00                                 $1,150.00


         Manifattura Italiana Pair of
         Benches                                                              $0.00                                 $3,062.00


         Richard Schulz Dining
         Chairs Model 149                                                     $0.00                                  $775.00


         Two Italian Occasional
         Chairs                                                               $0.00                                 $1,800.00


         Grouping of 4 Silver
         Plated Hot Water Urns                                                $0.00                                  $240.00


         Two Sculptural Steel
         Lounges                                                              $0.00                                 $1,400.00


         Painted Concrete Finial
         X-2                                                                  $0.00                                  $375.00


         Amphora Planter Marmite
         Willy Guhl                                                           $0.00                                 $2,835.00


         Baker Ferguson Foot Rest                                             $0.00                                 $1,500.00


         6 Captain Dining Chairs
         with Arms designed by
         Richard McCarthy Fox
         Seirito                                                              $0.00                                 $3,500.00


         three Italian Footstools                                             $0.00                                  $863.00


         Vittorlo Introini 4 Chesea
         Chairs                                                               $0.00                                  $821.00


Official Form 206A/B                            Schedule A/B Assets - Real and Personal Property                       page 3
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Debtor      JACKarcher, LLC a/k/a Gil Melott Studio                              Case number (If known)
            Name



         Czechoslovaka 2
         Armchairs from Villa
         Brozek                                                                 $0.00                                  $1,642.00


         Reggiani Italy Murano
         Glass Floor Lamp                                                       $0.00                                  $1,400.00


         Antique Industrial Bar Cart                                            $0.00                                   $225.00


         Four Gastone Rinaldi
         Dining Room Chairs                                                     $0.00                                  $5,000.00


         Pair of Chinese Foo Dogs                                               $0.00                                   $400.00


         Vintage Studio Crafted
         Oak Side Chairs                                                        $0.00                                  $1,050.00


         Pair of Raphael Raffel
         Lounge Chairs                                                          $0.00                                  $3,750.00


         Brazilian Jacaranda
         Lounge Chairs                                                          $0.00                                 $11,000.00


         Russel Woodard Pair of
         High Back Side Chairs                                                  $0.00                                 $21,600.00


         Vladimar Kagan Sectional
         for Preview                                                            $0.00                                  $8,100.00


         Two Park Mid Century
         Sofa                                                                   $0.00                                 $12,000.00


         Edward Wormley Chair                                                   $0.00                                  $3,250.00


         Ted Harris Touch Lamps                                                 $0.00                                  $2,800.00


         Italian Armchairs in
         Lacquered Beech                                                        $0.00                                  $3,750.00


         Filmore Harty Settee                                                   $0.00                                 $11,000.00



23.      Total of Part 5.                                                                                       $180,787.00
         Add lines 19 through 22. Copy the total to line 84.

24.      Is any of the property listed in Part 5 perishable?
            No

Official Form 206A/B                              Schedule A/B Assets - Real and Personal Property                        page 4
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Debtor        JACKarcher, LLC a/k/a Gil Melott Studio                                      Case number (If known)
              Name


             Yes

25.        Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                              Valuation method                               Current Value

26.        Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:       Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:       Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                 page 5
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                                                                      Document     Page 13 of 36
Debtor          JACKarcher, LLC a/k/a Gil Melott Studio                                                             Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                     $0.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                             $180,787.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $180,787.00           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $180,787.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 6
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Fill in this information to identify the case:

Debtor name       JACKarcher, LLC a/k/a Gil Melott Studio

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.




Official Form 206D                         Schedule D: Creditors Who Have Claims Secured by Property                                           page 1 of 1
                Case 23-13221                 Doc 1          Filed 10/03/23 Entered 10/03/23 13:26:13                                              Desc Main
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Fill in this information to identify the case:

Debtor name        JACKarcher, LLC a/k/a Gil Melott Studio

United States Bankruptcy Court for the:         NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                                      Check if this is an
                                                                                                                                                      amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                        Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                  $35,000.00         $35,000.00
          Illinois Department of Revenue                       Check all that apply.
          P.O. Box 19035                                          Contingent
          Springfield, IL 62794-9035                              Unliquidated
                                                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               Sales Taxes
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

3.1       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                      $352.87
          Affirm, Inc.                                                           Contingent
          P.O. Box 201209                                                        Unliquidated
          Dallas, TX 75320-1209                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?           No   Yes

3.2       Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $15,000.00
          Amanda Worthington                                                     Contingent
          1018 North Oakley                                                      Unliquidated
          Chicago, IL 60622                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?           No   Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                            page 1 of 6
                                                                                                               28803
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Debtor      JACKarcher, LLC a/k/a Gil Melott Studio                                         Case number (if known)
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3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $5,325.00
         American Express                                             Contingent
         P.O. Box 981537                                              Unliquidated
         El Paso, TX 79998                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,500.00
         Anthony Tahlier                                              Contingent
         2414 West Cullerton                                          Unliquidated
         Chicago, IL 60608                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,830.01
         Cadogan Tate                                                 Contingent
         322 North Leavitt Street                                     Unliquidated
         Chicago, IL 60612                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,000.00
         Capital One                                                  Contingent
         P.O. Box 30281                                               Unliquidated
         Salt Lake City, UT 84130-0281                                Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,500.00
         Citi                                                         Contingent
         P.O. Box 6500                                                Unliquidated
         Sioux Falls, SD 57117                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $400.00
         Com Ed                                                       Contingent
         Legal Revenue Recovery/Claims Dept                           Unliquidated
         3 Lincoln Center                                             Disputed
         Oak Brook Terrace, IL 60181
                                                                   Basis for the claim: Utility
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $1,000.00
         Credit One Bank                                              Contingent
         P.O. Box 98872                                               Unliquidated
         Las Vegas, NV 89193-8872                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Credit card purchases
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 2 of 6
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            Name

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $750.00
         Dalia Crate/Steven Haulenbeek                                Contingent
         1500 South Western                                           Unliquidated
         #2AS1                                                        Disputed
         Chicago, IL 60608
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $5,000.00
         David Hall                                                   Contingent
         2315 West 24th Place                                         Unliquidated
         Unit GF                                                      Disputed
         Chicago, IL 60608
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $2,745.00
         Eagle Carpet                                                 Contingent
         20 West Kinzie Street                                        Unliquidated
         2nd Floor                                                    Disputed
         Chicago, IL 60654
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $3,900.00
         Esco Bros.                                                   Contingent
         252 Zinnia Drive                                             Unliquidated
         Romeoville, IL 60446                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $7,035.00
         Eurocraft                                                    Contingent
         6455 North Avondale                                          Unliquidated
         Chicago, IL 60631                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $19,500.00
         HHPR                                                         Contingent
         East 39th Street                                             Unliquidated
         4th Floor                                                    Disputed
         New York, NY 10016
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $11,750.00
         Isberian Rugs                                                Contingent
         20 West Kinzie Street                                        Unliquidated
         2nd Floor                                                    Disputed
         Chicago, IL 60654
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 3 of 6
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Debtor      JACKarcher, LLC a/k/a Gil Melott Studio                                         Case number (if known)
            Name

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $3,250.00
         Jacob Wener TX                                               Contingent
         16239 Hiddent Oak Loop                                       Unliquidated
         Bradenton, FL 34211                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $6,715.00
         Joel Fisher Orders                                           Contingent
         5610 West Bloomingdale Avenue                                Unliquidated
         Chicago, IL 60639                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $1,600.00
         Mikes Glass Fabricator                                       Contingent
         2709 West Howard                                             Unliquidated
         Chicago, IL 60645                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $640.09
         New York Little Elves                                        Contingent
         151 First Avenue                                             Unliquidated
         #204                                                         Disputed
         New York, NY 10030
                                                                   Basis for the claim: Cleaning Crew
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $18,000.00
         North & Honore, LLC                                          Contingent
         738 North Wells Street                                       Unliquidated
         Chicago, IL 60654                                            Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Back Rent
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $623.16
         Paychex of New York                                          Contingent
         1535 Scenic Avenue                                           Unliquidated
         Ste. 100                                                     Disputed
         Costa Mesa, CA 92626
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number 4256                      Is the claim subject to offset?     No       Yes


3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                 $300.00
         Peoples Gas*                                                 Contingent
         Attn: Bankruptcy/Legal Department                            Unliquidated
         200 E. Randolph Street, Floor 20                             Disputed
         Chicago, IL 60601
                                                                   Basis for the claim: Utility
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 4 of 6
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Debtor       JACKarcher, LLC a/k/a Gil Melott Studio                                                Case number (if known)
             Name

3.24      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                   $464.00
          Pipal & Berg, LLP                                                    Contingent
          100 South Wacker Drive                                               Unliquidated
          Ste. 900                                                             Disputed
          Chicago, IL 60606
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?         No    Yes


3.25      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $480,000.00
          Small Business Administration                                        Contingent
          2 North 20th Street                                                  Unliquidated
          Ste. 320                                                             Disputed
          Birmingham, AL 35211
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?         No    Yes


3.26      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,550.00
          Sophos Invoice                                                       Contingent
          1920 North Damen                                                     Unliquidated
          #1F                                                                  Disputed
          Chicago, IL 60647
                                                                           Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?         No    Yes


3.27      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $1,625.00
          Urban Craft Upholstery                                               Contingent
          3604 South Iron Street                                               Unliquidated
          Chicago, IL 60609                                                    Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No    Yes

3.28      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $3,000.00
          Wells Fargo Card Service                                             Contingent
          P.O. Box 14517                                                       Unliquidated
          Des Moines, IA 50306                                                 Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Credit card purchases
          Last 4 digits of account number
                                                                           Is the claim subject to offset?         No    Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                    related creditor (if any) listed?                account number, if
                                                                                                                                                     any
4.1       CBNA
          P.O. Box 6497                                                                             Line     3.7
          Sioux Falls, SD 57117
                                                                                                           Not listed. Explain

4.2       Small Business Administration
          500 W. Madison                                                                            Line     3.25
          Ste. 1250
                                                                                                           Not listed. Explain
          Chicago, IL 60661




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 5 of 6
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Debtor      JACKarcher, LLC a/k/a Gil Melott Studio                                     Case number (if known)
            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the       Last 4 digits of
                                                                                       related creditor (if any) listed?             account number, if
                                                                                                                                     any
4.3       Small Business Administration
          1441 L Street, NW                                                            Line     3.25
          Mail Code 5460
                                                                                              Not listed. Explain
          Washington, DC 20416-0001

4.4       Small Business Administration
          801 Tom Martin Drive                                                         Line     3.25
          Ste. 120
                                                                                              Not listed. Explain
          Birmingham, AL 35211


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                           Total of claim amounts
5a. Total claims from Part 1                                                              5a.          $                     35,000.00
5b. Total claims from Part 2                                                              5b.    +     $                    599,355.13

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.          $                      634,355.13




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 6 of 6
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Fill in this information to identify the case:

Debtor name       JACKarcher, LLC a/k/a Gil Melott Studio

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Business Building Lease
           lease is for and the nature of
           the debtor's interest

               State the term remaining          26 Months
                                                                                    North & Honore, LLC
           List the contract number of any                                          738 North Wells Street
                 government contract                                                Chicago, IL 60654




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      JACKarcher, LLC a/k/a Gil Melott Studio

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:
   2.1                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.2                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.3                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.4                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         JACKarcher, LLC a/k/a Gil Melott Studio

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,             Sources of revenue                           Gross revenue
      which may be a calendar year                                                     Check all that apply                         (before deductions and
                                                                                                                                    exclusions)
2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                       Description of sources of revenue            Gross revenue from
                                                                                                                                    each source
                                                                                                                                    (before deductions and
                                                                                                                                    exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                  Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                       Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value         Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 1
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Debtor       JACKarcher, LLC a/k/a Gil Melott Studio                                              Case number (if known)



          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case               Court or agency's name and                Status of case
              Case number                                                           address
      7.1.    F,L & A, LLC vs JACKarcher,              Eviction                     Circuit Court of Cook County                 Pending
              LLC                                                                   Richard J. Daley Center                      On appeal
              22L 009455                                                            50 West Washington - Room
                                                                                                                                 Concluded
                                                                                    602
                                                                                    Chicago, IL 60602


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address             Description of the gifts or contributions                  Dates given                            Value


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss              Value of property
      how the loss occurred                                                                                                                               lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy


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Debtor        JACKarcher, LLC a/k/a Gil Melott Studio                                            Case number (if known)



    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received              If not money, describe any property transferred               Dates                Total amount or
                the transfer?                                                                                                                         value
                Address
      11.1.     Kaplan Law Firm LLC
                25 East Washington St
                Suite 1501                                                                                              September
                Chicago, IL 60602                         Attorney Fees                                                 26, 2023                     $662.00

                Email or website address
                rkaplan@financialrelief.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                             Describe any property transferred                    Dates transfers               Total amount or
                                                                                                               were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                  Description of property transferred or                     Date transfer              Total amount or
               Address                                 payments received or debts paid in exchange                was made                            value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services                 If debtor provides meals
                                                       the debtor provides                                                          and housing, number of
                                                                                                                                    patients in debtor’s care

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Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

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     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Designer Advantage
                    1340 Centre Street
                    Newton Center, MA 02459

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why


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    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

             Name of the person who supervised the taking of the                    Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                       or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Gilbert Melott                          1834 West North Avenue                              President                                 100%
                                              Chicago, IL 60622



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient             Amount of money or description and value of               Dates                 Reason for
                                                       property                                                                        providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
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     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         October 3, 2023

/s/ Gil Melott                                                  Gil Melott
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor    President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                              Northern District of Illinois
 In re       JACKarcher, LLC a/k/a Gil Melott Studio                                                          Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     662.00
             Prior to the filing of this statement I have received                                        $                     662.00
             Balance Due                                                                                  $                       0.00

2.    $     338.00      of the filing fee has been paid.

3.    The source of the compensation paid to me was:

                  Debtor             Other (specify):

4.    The source of compensation to be paid to me is:

                  Debtor             Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d. [Other provisions as needed]
              Negotiations with secured creditors for reaffirmations; exemption planning; preparation and filing of motions pursuant to 11
              USC 522(f)(2)(A) for avoidance of liens on household goods.

7.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Redemptions under 11 U.S.C. 722, representation of the debtors in any dischargeability actions, judicial lien avoidances,
              relief from stay actions, any adversary proceeding, amendments and enforcement of stay violations.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     October 3, 2023                                                          /s/ Raffy A. Kaplan
     Date                                                                     Raffy A. Kaplan 6275234
                                                                              Signature of Attorney
                                                                              Kaplan Law Firm LLC
                                                                              25 East Washington St
                                                                              Suite 1501
                                                                              Chicago, IL 60602
                                                                              (312) 294-8989 Fax: (312) 294-8995
                                                                              rkaplan@financialrelief.com
                                                                              Name of law firm
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                                           United States Bankruptcy Court
                                                  Northern District of Illinois
In re   JACKarcher, LLC a/k/a Gil Melott Studio                                       Case No.
                                                               Debtor(s)              Chapter    7




                                    VERIFICATION OF CREDITOR MATRIX

                                                                      Number of Creditors:                       34




        The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
        (our) knowledge.




Date:   October 3, 2023                             /s/ Gil Melott
                                                    Gil Melott/President
                                                    Signer/Title
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                      Affirm, Inc.
                      P.O. Box 201209
                      Dallas, TX 75320-1209


                      Amanda Worthington
                      1018 North Oakley
                      Chicago, IL 60622


                      American Express
                      P.O. Box 981537
                      El Paso, TX 79998


                      Anthony Tahlier
                      2414 West Cullerton
                      Chicago, IL 60608


                      Cadogan Tate
                      322 North Leavitt Street
                      Chicago, IL 60612


                      Capital One
                      P.O. Box 30281
                      Salt Lake City, UT 84130-0281


                      CBNA
                      P.O. Box 6497
                      Sioux Falls, SD 57117


                      Citi
                      P.O. Box 6500
                      Sioux Falls, SD 57117


                      Com Ed
                      Legal Revenue Recovery/Claims Dept
                      3 Lincoln Center
                      Oak Brook Terrace, IL 60181


                      Credit One Bank
                      P.O. Box 98872
                      Las Vegas, NV 89193-8872


                      Dalia Crate/Steven Haulenbeek
                      1500 South Western
                      #2AS1
                      Chicago, IL 60608
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                  David Hall
                  2315 West 24th Place
                  Unit GF
                  Chicago, IL 60608


                  Eagle Carpet
                  20 West Kinzie Street
                  2nd Floor
                  Chicago, IL 60654


                  Esco Bros.
                  252 Zinnia Drive
                  Romeoville, IL 60446


                  Eurocraft
                  6455 North Avondale
                  Chicago, IL 60631


                  HHPR
                  East 39th Street
                  4th Floor
                  New York, NY 10016


                  Illinois Department of Revenue
                  P.O. Box 19035
                  Springfield, IL 62794-9035


                  Isberian Rugs
                  20 West Kinzie Street
                  2nd Floor
                  Chicago, IL 60654


                  Jacob Wener TX
                  16239 Hiddent Oak Loop
                  Bradenton, FL 34211


                  Joel Fisher Orders
                  5610 West Bloomingdale Avenue
                  Chicago, IL 60639


                  Mikes Glass Fabricator
                  2709 West Howard
                  Chicago, IL 60645
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                  New York Little Elves
                  151 First Avenue
                  #204
                  New York, NY 10030


                  North & Honore, LLC
                  738 North Wells Street
                  Chicago, IL 60654


                  North & Honore, LLC
                  738 North Wells Street
                  Chicago, IL 60654


                  Paychex of New York
                  1535 Scenic Avenue
                  Ste. 100
                  Costa Mesa, CA 92626


                  Peoples Gas*
                  Attn: Bankruptcy/Legal Department
                  200 E. Randolph Street, Floor 20
                  Chicago, IL 60601


                  Pipal & Berg, LLP
                  100 South Wacker Drive
                  Ste. 900
                  Chicago, IL 60606


                  Small Business Administration
                  2 North 20th Street
                  Ste. 320
                  Birmingham, AL 35211


                  Small Business Administration
                  500 W. Madison
                  Ste. 1250
                  Chicago, IL 60661


                  Small Business Administration
                  801 Tom Martin Drive
                  Ste. 120
                  Birmingham, AL 35211
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                  Small Business Administration
                  1441 L Street, NW
                  Mail Code 5460
                  Washington, DC 20416-0001


                  Sophos Invoice
                  1920 North Damen
                  #1F
                  Chicago, IL 60647


                  Urban Craft Upholstery
                  3604 South Iron Street
                  Chicago, IL 60609


                  Wells Fargo Card Service
                  P.O. Box 14517
                  Des Moines, IA 50306
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 In re   JACKarcher, LLC a/k/a Gil Melott Studio                                        Case No.
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                              CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for JACKarcher, LLC a/k/a Gil Melott Studio in the above captioned action, certifies that
the following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10%
or more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP
7007.1:



  None [Check if applicable]




October 3, 2023                                    /s/ Raffy A. Kaplan
Date                                               Raffy A. Kaplan 6275234
                                                   Signature of Attorney or Litigant
                                                   Counsel for JACKarcher, LLC a/k/a Gil Melott Studio
                                                   Kaplan Law Firm LLC
                                                   25 East Washington St
                                                   Suite 1501
                                                   Chicago, IL 60602
                                                   (312) 294-8989 Fax:(312) 294-8995
                                                   rkaplan@financialrelief.com
